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                                                                            FILED IN CLERK’S OFFICE
                                                                                  U.SD.C.   -   Atlanta


                                                                                 JuL 01 2020
                                                                           JAM       .   HAU               Clerk
                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA


tN RE: COURT OPERATIONS UNDER
THE EXIGENT CIRCUMSTANCES                                        GENERAL ORDER 20-01
CREATED BY COVID-19 AND RELATED                                      Fourth Amendment
CORONAVIRUS

                                           ORDER

       General Order 20-01. dated March 16. 2020. and amended by orders dated March

30. 2020: April 30. 2020: and May 26. 2020. addresses Court operations tbr the United

States District Court for the Northern District of Georgia under the exigent circumstances

created by the spread of COVID-19. The I’hird Amendment to General Order 20-0 1,

entered May 26, 2020, extended the time periods specified in the Order through and

including July 3, 2020.

       Data from the Georgia Department of Public health reflects that the average number

of new COVID-1 9 cases per day in the State ot Georgia remains higher than it was on

March 16. 2020.     hen the Court originally entered General Order 20-0 I. The total number

of COVII)— 19 cases and deaths in Georgia continues to rise, and no vaccine or cttre is

available to the general public. [here has been no change to the President’s declaration ol

a national emergency under the National lmergencies Act (5t) U.S.C.       1601 et seq.) clue

to (‘(WIt)— 19 or to the lindings of the Judicial Contirence ot the      inited States that

emeruency conditions due to this national emergency have materially alThcted and                xt   ill

materiall affect the functioning of the li.deral eottrts generally
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       As the adverse conditions giving rise to General Order 20-01 have not sufficiently

resolved for the Court to return to normal operations. IT IS HEREBY ORDERED that

General Order 20-0 1, as amended, is further amended to extend the time periods specified

therein through and including the date of July 3 1, 2020.

       IT IS Ft]RTHER ORDERED that while there will be no civil or criminal jury

trials in any division of the Northern District of Georgia until after July 3 1, 2020, grand

jury proceedings may continue to he held, and summonses may he issued to prospective

jurors tbr proceedings scheduled to begin after Jtdy 31, 2020.

       IT IS FURTHER ORDERED that the time period of any continuance entered as

a result of this Order (whether that continuance causes a pre-indictrnent delay or a pre-trial

delay) shall be exctuded under the Speedy ‘l’rial Act. 1 8 U.S.C.    §   3 161 (h)(7)(A). as the

Court finds that the ends ol justice served by taking that action ottheigh the interests of

the parties and the ptihlic in a speedy trial. Absent further order of the Cotirt or any

individual judge. the period ol exclusion shall he from March 23. 2020, through and

including July 3 1, 202t). 1 he Court may extend the period ol exclusion as circumstances

may warrant. This Order and period ot exclusion are incorporated by refbrence as a specific

llnding under 18 tJ.S.C.   §   3 161 (h)(7)(A) in the record ol’ each pending case where the

Speedy Irial Act applies. See Zediu’r v. United States, 547 U.S. 489, 506-07 (2006). lhe

periods ol exclusion in the Courts prior orders on this subject. General Order 20—01 and

its subsequent amendments. are likewise incorporated by reference as a specific finding
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tinder I 8 1 J.S.(.   § 3 161 (h)(7)(A)   ifl   the record of each pending case here the Speeds Trial

Act applies.




        SO ORDEREI) this            i      day of July 2020.




                                            THOMAS W. THRASH, JR.
                                            CHIEF UNITED STATES DISTRICT JUDCE




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